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                                   9224




                       Exhibit L
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                                                  Inmate Locator
                                               9225                                 A-Z Topics Site Map                                                                       FOIA


                                                                                                                                     Search bop.gov



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                                                                Find an inmate.
        Locate the whereabouts of a federal inmate incarcerated from 1982 to the present. Due to the First Step Act, sentences are
          being reviewed and recalculated to address pending Good Conduct Time changes. As a result, an inmate's release date
          may not be up-to-date. Website visitors should continue to check back periodically to see if any changes have occurred.


                                                           Find By Number                        Find By Name



             First                       Middle                        Last                                Race                            Age         Sex

             James                                                         Fields                          White                                       Male


           1 Result for search James Fields, Race: White, Num: 22239-084, Sex: Male                                              Clear Form              Search




                                                         JAMES ALEX FIELDS
                                                         Register Number: 22239-084                                             Related Links
                                                                                                                                Facility Information
                                                         Age:        22
                                                                                                                                Call or email
                                                         Race:       White
                                                                                                                                Send mail/package
                                                         Sex:        Male
                                                                                                                                Send money
                                                         Located at: Hazelton USP                                               Visit
                                                                                                                                Voice a concern
                                                         Release Date: LIFE




                                                          About the inmate locator & record availability




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     Statistics               Custody & Care                                   Our Hiring Process                                 Research & Reports    Media Reps
                              Visiting
                              Voice a Concern




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